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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                         CASE NO: 8:07-cr-119-T-26MAP

JOSE ALONSO NUNEZ-GUTIERREZ
                                            /

                                          ORDER

       Upon due consideration, it is ordered and adjudged as follows:

       1) The Motion for Permission to Appear Pro Hac Vice and for Substitution of

Counsel (Dkt. 15) is granted. Manuel Lopez is substituted as counsel of record for Scott

Robbins.

       2) Manuel Lopez shall, within 10 days of this order, comply with the requirements

of Local Rule 2.02(a) by associating local counsel.

       3) Manuel Lopez shall, within 30 days of this, order comply with the

administrative procedures in effect in this district for electronic filing in civil and

criminal cases.

       DONE AND ORDERED at Tampa, Florida, on May 22, 2007.



                                       s/Richard A. Lazzara
                                     RICHARD A. LAZZARA
                                     UNITED STATES DISTRICT JUDGE
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Counsel of Record
